             Case 2:12-cr-00185-TLN Document 134 Filed 04/10/15 Page 1 of 3



 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Nadeem Khan
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                )   Case No.: 2:12-cr-00185-TLN
 9   UNITED STATES OF AMERICA,                  )
                                                )
10                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   CONTINUANCE OF JUDGMENT AND
11       vs.                                    )   SENTENCING
     NADEEM KHAN,                               )
12                                              )
                  Defendant.                    )
13                                              )
14
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

16   Judgment and Sentencing scheduled for May 14, 2015, at 9:30 a.m. is continued to June

17   4, 2015, at 9:30 a.m. in the same courtroom. Probation has also been informed of the

18   continuance request. Defendant needs additional time to prepare for sentencing and

19   requested a continuance. Jason Hitt, Assistant United States Attorney, and Thomas A.

20   Johnson, Defendant’s attorney, agree to this continuance.

21
22   IT IS SO STIPULATED.

23
     DATED: April 9, 2015                            By:    /s/ Thomas A. Johnson
24                                                          THOMAS A. JOHNSON
                                                            Attorney for Nadeem Khan
25
26
27
28



                                                                                     -1-
            Case 2:12-cr-00185-TLN Document 134 Filed 04/10/15 Page 2 of 3


     DATED: April 9, 2015                            BENJAMIN B. WAGNER
 1                                                   United States Attorney
 2                                            By:     /s/ Thomas A. Johnson for
                                                     JASON HITT
 3                                                   Assistant United States Attorney
 4   IT IS SO ORDERED.
 5   DATED: April 10, 2015
 6
 7
 8
                                           Troy L. Nunley
 9                                         United States District Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                        IN THE UNITED STATES DISTRICT COURT
27
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
28



                                                                               -2-
              Case 2:12-cr-00185-TLN Document 134 Filed 04/10/15 Page 3 of 3



 1
     UNITED STATES OF AMERICA,                      )   Case No. 2:12-cr-00185-TLN
 2                                                  )
                   Plaintiff,                       )
 3                                                  )   MODIFICATION OF SCHEDULE FOR
            vs.                                     )   PRE-SENTENCE REPORT AND FOR
 4                                                  )   FILING OF OBJECTIONS TO THE PRE-
     NADEEM KHAN,                                   )   SENTENCE REPORT
 5
                                                    )
 6                 Defendant                        )
                                                    )
 7
 8   Judgment and Sentencing date:                             June 4, 2015
 9
     Reply or Statement                                        May 28, 2015
10
     Motion for Correction of the Pre-Sentence
11   Report shall be filed with the court and                  May 21, 2015
12   served on the Probation Officer and opposing
     counsel no later than:
13
     The Pre-Sentence Report shall be filed with
14   the court and disclosed to counsel no later               May 7, 2015           __
15   than:

16
17
18
19
20
21
22
23
24
25
26
27
28



                                                                                          -3-
